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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


NINGDE AMPEREX TECHNOLOGY      §
LIMITED                        §
                               §
v.                             §                CASE NO. 2:22-cv-00232-JRG
                               §
ZHUHAI COSMX BATTERY CO., LTD. §


                     MINUTES FOR MARKMAN HEARING
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                 August 15, 2023

OPEN: 01:31 PM                                                        ADJOURN: 02:52 PM


ATTORNEYS FOR PLAINTIFF:                               See attached

ATTORNEYS FOR DEFENDANT:                               See attached

TECHNICAL ADVISOR:                                     Michael Paul

LAW CLERKS:                                            Ryan Davies
                                                       Dylan Freeman

COURT REPORTER:                                        Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                      Andrea Brunson, CP

   TIME                                       MINUTE ENTRY
 01:31 PM   Court opened.
 01:33 PM   Court called for announcements from counsel.
 01:34 PM   Court began hearing claim construction arguments on a claim-by-claim basis.
                Presented argument on behalf of Plaintiff: Mr. Powell.
                Presented argument on behalf of Defendant: Ms. Robinson.
 02:50 PM   Arguments concluded.
 02:51 PM   Court to take claim construction under submission.
 02:52 PM   Court adjourned.




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